         Case 1:18-cv-10506-ADB Document 159-4 Filed 06/19/19 Page 1 of 4




                      EXHIBIT 6 TO CASTILLO
                     DEPOSITION TRANSCRIPT
Exhibits to Castillo Deposition                                   No. 1:18-cv-10506
        Case 1:18-cv-10506-ADB Document 159-4 Filed 06/19/19 Page 2 of 4


From:              Qlzi Conner
To:                JQSue Toussaint
Cc:                "Br¥an Mills"
Sultject:          RE: Call Info
Date:              Friday, January 13, 2017 2:53:06 PM
Attachments:       5089660240 details.PNG


HiJT,
PFA,
            Attached is the screen shot for the below mentioned number. Thanks
                                                                                            .•...
                                                                                     ' ..~'."       ~~.




From: Josue Toussaint [mailtoJtoussaint@libertypowercorp.com]
Sent: Saturday, January 14,201712:08 AM
To: Qzzi Conner
Cc: 'Bryan Mills'
Subject: RE: Call Info

Hey Oz,


Can you also provide me a screen shot for this one?


Thanks


JT


From: Ozzi Conner [mailto:o.c@mezzimarketing.com]
Sent: Thursday, January 12,201712:18 PM
To: Josue Toussaint <jtoussaint@libertypowercorp.com>
Cc: 'Bryan Mills' <b.m@mezzimarketing.com>
Subject: RE: Call Info


JT - No problem at all we want to run this business as smooth as possible so I am working my heart
out to make sure of the compliance because I don't want anything from our side which raise a
question to you by liberty's higher management so I again appreciate your support buddy will
provide you whatever you need.


From: Josue Toussaint [mailtoJtoussaint@!ibertypowercorp,com]
Sent: Thursday, January 12,2017 10:10 PM
To: Qui Conner
Subject: RE: Call Info

Thanks buddy


From: Ozzi Conner [mailto:o.c@mezzimarketing.com]
Sent: Thursday, January 12, 2017 12:02 PM
To: Josue Toussaint <itoussajot@libertypowercorp,com>
Cc: 'Bryan Mills' <b.m@mezzimarketing,cQm>
Subject: RE: Call Info
                                                               PLAINTIFF'S II   p.
                                                         i
                                                         !\1
                                                                 EXHIBIT

                                                         tti~4)~~3tl! 9                                   LP_002389-1.pdf
      Case 1:18-cv-10506-ADB Document 159-4 Filed 06/19/19 Page 3 of 4

Hi Josue,
            This number is not dialed from our end. Thanks


From: Josue Toussaint [mailtoJtoussaint@libertypawercorp.com]
Sent: Thursday, January 12, 2017 9:42 PM
To: Ozzi Corner (ih.c@mezzimarketing.com)
Cc: Bryan Mills (b.m@mezzimarketing.com)
Subject: Call Info
Importance: High

Any info in your dialer for the following (Date and time dialed)?


Samuel Katz
508-966-



The information contained in this transmission may contain confidential and proprietary
information. It is intended only for the use ofthe person(s) named above. Intended recipients
are reminded of their obligation to maintain the confidentiality of applicable Liberty Power
information. If you have been sent this message in error, you are hereby notified that any
review, dissemination, distribution or duplication of this communication is strictly prohibited.
Further, if you have been sent this message in error, please contact the sender by reply email
and destroy all copies of the original message. To reply to our email administrator directly,
please send an email to emai1.security@libeltypowercorp.com.

The information contained in this transmission may contain confidential and proprietary
information. It is intended only for the use ofthe person(s) named above. Intended recipients
are reminded of their obligation to maintain the confidentiality of applicable Liberty Power
information. If you have been sent this message in error, you are hereby notified that any
review, dissemination, distribution or duplication of this communication is strictly prohibited.
Further, if you have been sent this message in error, please contact the sender by reply email
and destroy all copies ofthe original message. To reply to our email administrator directly,
please send an email tOQmail.security@1ibertypowercorp.com.
                                                                                  ~~-~     ...•.
                                                                                               --~ ..


The information contained in this transmission may contain confidential and proprietary
information. It is intended only for the use of the person(s) named above. Intended recipients
are reminded of their obligation to maintain the confidentiality of applicable Liberty Power
information. If you have been sent this message in error, you are hereby notified that any
review, dissemination, distribution or duplication of this communication is strictly prohibited.
Further, if you have been sent this message in error, please contact the sender by reply email
and destroy all copies ofthe original message. To reply to our email administrator directly,
please send an email toemail.security@libertypowercorp.com.




                                                                                  LP_002389-2.pdf
Case 1:18-cv-10506-ADB Document 159-4 Filed 06/19/19 Page 4 of 4
